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                                   EXHIBIT 9
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Document title:                  UIUC Chancellor: Chief Illiniwek’s Retirement is Permanent | Illinois Public Media
                                 News | Illinois Public Media

Capture URL:                     https://will.illinois.edu/news/story/uiuc-chancellor-chief-illiniweks-retirement-is-
                                 permanent

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Capture tool:                    v7.13.2

Collection server IP:            54.157.181.49

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      4

Capture ID:                      8d23aa98-b1a3-4023-9f49-972ba670fbd7

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                                                                                          Exhibit 9 - Page 1 of 4
                 Case: 1:21-cv-06546 Document #: 70-14 Filed: 11/08/22 Page 3 of 5 PageID #:966




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Capture timestamp (UTC): Mon, 24 Jan 2022 21:18:30 GMT                                                                                               Page 1 of 3
                                                                                                                           Exhibit 9 - Page 2 of 4
                 Case: 1:21-cv-06546 Document #: 70-14 Filed: 11/08/22 Page 4 of 5 PageID #:967




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Capture timestamp (UTC): Mon, 24 Jan 2022 21:18:30 GMT                                                                                               Page 2 of 3
                                                                                                                           Exhibit 9 - Page 3 of 4
                 Case: 1:21-cv-06546 Document #: 70-14 Filed: 11/08/22 Page 5 of 5 PageID #:968




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Capture timestamp (UTC): Mon, 24 Jan 2022 21:18:30 GMT                                                                                               Page 3 of 3
                                                                                                                           Exhibit 9 - Page 4 of 4
